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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    PATRICK CALHOUN, et al.,                           Case No. 20-cv-05146-YGR (SVK)
                                   8                   Plaintiffs,
                                                                                           REDACTION ORDER
                                   9            v.

                                  10    GOOGLE LLC,
                                  11                   Defendant.

                                  12          The Court’s Order Following February 28, 2022 Discovery Hearing (Dkt. 516) (the
Northern District of California
 United States District Court




                                  13   “Order”) has been provisionally filed under seal. The Parties are ordered to meet and confer and

                                  14   submit joint proposed redactions to the Order (to the extent any redaction is required) and a

                                  15   proposed order by March 8, 2022. If no proposed redactions are received by 11:59 p.m. on

                                  16   March 8, 2022, the Court will unseal the Order in its entirety.

                                  17          SO ORDERED.

                                  18   Dated: March 1, 2022

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                                                                                                    SUSAN VAN KEULEN
                                  21                                                                United States Magistrate Judge
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